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                                                Exhibit 58 Page 1 of 18
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                                                                               Book:2006                       REAL ESTATE DOCUMENT

                                                                               Page:068424-06                 GREENE COUNTY, MISSOURI
                                                                                                              RECORDERS CERTIFICATION
                                                                               18 pages
                                                                              reclac                             RECORDER OF DEEDS




                                                  (Space Above This Line For Recording Data]
                                                                        MIN:                        1322-5
        (1)    Type of Document: DEED OF TRUST
        (2)    Date of Document: December 22, 2006
        (3)    Grantor/Borrower Names: CHRIS GATLEY, A Single Person


        (4) Grantee/Lender Name and/vlcfre^ H[^|0,            BR00KLINE       STATION, MO 65619
                                                    PO Box 2026
                                                    Flint, Ml 48501-2026



        (5)    Legal description or location of legal description in the document:
               ALL OF LOT FOUR (4), YADON'S SUBDIVISION, GREENE COUNTY, MISSOURI, ACCORDING TO
               THE RECORDED PLAT THEREOF.




        Legal located on Page:

        After Recording Return To:
    v   Empire Bank
MAIM3333 ® National Ave
TOysPrin9field> M0 65807



        MISSOURI RECORDING COVER SHEET
                                                                                                                          GreatDocs™
        ITEM 971911 (0111)— MERS                                                                         To Order Call: 1-8Q0-96B-5775
                 2322                                                                                                         2322

                                                                                                                            Exhibit 58
                                                                                                                           000369
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                                                   DEED OF TRUST
     MIN:                         1322-5

     DEFINITIONS

     Words used in multiple sections of this document are defined below and other words are defined in Sections 3,11,13,
     18,20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.

     (A) "Security Instrument" means this document, which is dated               December 22, 2006               , together with
     all Riders to this document.
                              CHRIS GATLEY, A Single Person
     (B) "Borrower" is


       whos& address is*                            5759 W HWY 60, BROOKLINE STATION, MO 65619
     Borrower is the trustor'under this Security Instrument.

     (C) "Lender" is Empire Bank
     Lender is a Banking Institution                                                             organized and existing under
     the laws of the State of Missouri                                                                   . Lender's address is
     3333 S National Ave, Springfield, MO 65807



     (D) "Trustee" is Mark L. McQueary

     whose address is:                                 1949 E Sunshine Ste 1-130, Springfield MO 65804
     (E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely
     as a nominee for Lender aud Lender's successors and assigns. MERS is the beneficiary under this Security
     Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number
     of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

     (F) "Note" means the promissory note signed by Borrower and dated                 December 22, 2006             . The Note
.    states that Borrower owes Lender Thirty Thousand Four Hundred and no/100
          .                                 Dollars (U.S. $30,400.00                    .) plus interest. Borrower has promised
     to pay this debt in regular Periodic Payments and to pay the debt in full not later than         January 01,2008

     (G) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."

     (JH) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
     the Note, and all sums due under this Security Instrument, plus interest.

     (I) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
     to be executed by Borrower [check box as applicable]:

          I   1 Adjustable Rate Rider      I I Condominium Rider                       I I Second Home Rider
          I I Balloon Rider                I I Planned Unit Development Rider          [^] Other(s) [specify]

          [Xl 1.4 Family Rider             I   I   Biweekly Payment Rider




    MISSOURI—Single Family—Fannie Mac/Freddie Mac UNIFORM INSTRUMENT                                               Form 3026 1/01
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 (J) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
 administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
 opinions.

 (K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
 that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
 organization.

 (L) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft,
 or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
 magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
 includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by.
 telephone, wire transfers, and automated clearinghouse transfers.

 (M) "Escrow Items" means those items that are described in Section 3.

 (N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
 third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
 destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
 lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

 (O) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.

 (P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note,
 plus (ii) any amounts under Section 3 of this Security Instrument.

 (Q) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing
 regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
 successor legislation or regulation that governs the same subject matter. As used in this Security Instrument,
 "RESPA" refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan"
 even if the Loan does not qualify as a "federally related mortgage loan" under RESPA.

 (R) "Successor in Interest of Borrower", means any party that has taken title to the Property, whether or not that
 party has assumed Borrower's obligations under the Note and/or this Security Instrument.




 MISSOURI—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                            Form 3026 1/01
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  TRANSFER OF RIGHTS IN THE PROPERTY

  The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and
  assigns) and the successors and assigns of MERS. This Security Instrument secures to Lender: (i) the repayment of the
  Loan, and all renewals, extensions and modifications of the Note; and (ii) the performance of Borrower's covenants
. and agreements under this Security Instrument and the Note. For this purpose, Borrower irrevocably grants, bargains,
  sells, conveys and confirms to Trustee, in trust, with power of sale, the following described property located in the
                          County                           of                         Greene                          :
                      [Type of Recording Jurisdiction]                                      [Name of Recording Jurisdiction)

  ALL OF LOT FOUR (4), YADON'S SUBDIVISION, GREENE COUNTY, MISSOURI, ACCORDING TO THE
  RECORDED PLAT THEREOF.




   Parcel Number:                         88-13-11-101-011
  which currently has the address of                                               2252 N LYON AVE
                                                                                         [Street]

                   SPRINGFIELD                           Missouri                   65803                   ("Property Address"):
                             [City]                                                [Zip Code]



        TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
  appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
  covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."
  Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
  Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
  and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to foreclose
  and sell the Property; and to take any action required of Lender including, but not limited to, releasing and canceling
  this Security Instrument.

        BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to
  grant and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower
  warrants and will defend generally the title to the Property against all claims and demands, subject to any
  encumbrances of record.

       THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants
  with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

        UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
        1.   Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
  shall pay when due the principal.of, and interest on, the debt evidenced by the Note and any prepayment charges and
  late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
  under the Note and this Security Instrument shall be made in U.S. cun ency. However, if any check or other instrument
  received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may
  require that any or all subsequent payments due under the Note and this Security Instrument be made in one or more
  of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's

  MISSOURI—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                               Form 3026 1/01
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           12322                                                                                                                           |2322



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check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
       Payments are deemed received by Lender when received at the location designated in the Note or at such other
 location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return
any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender
may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
 hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of its
scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim which
Borrower might have now or in the future against Lender shall relieve Borrower from making payments due under the
Note and this Security Instrument or performing the covenants and agreements secured by this Security Instrument.
       2.   Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second to
any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
       If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more
than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the repayment
of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess
exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may be applied
to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then as described
in the Note.        .
      Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
      3.    Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower
to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10.
These items are called "Escrow Items." At origination or at any time during the term of the Loan, Lender may require
that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of such waiver,
Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase
"covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a
waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
under this Section 3.



MISSOURI—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                           Form 30261/01
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       Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
 at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.
 Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of
 future Escrow Items or otherwise in accordance with Applicable Law.
       The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
 entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank.
 Lender shall apply the Funds to pay the Escrow. Items no later than the time specified under RESPA. Lender shall not
 charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
 Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge.
  Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not
 be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing,
 however, that interest shall be paid on the Funds. Lender shall give .to Borrower, without charge, an annual accounting
 of the Funds as required by RESPA.
       If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the
 excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA,
 Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
 up the shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of
 Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
 shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
 12 monthly payments.
       Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower
 any Funds held by Lender.               •
       4.    Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
 the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
 Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are
 Escrow Items, Borrower shall pay them in the manner provided in Section 3.
       Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
 (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so
 long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement
 of the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those
 proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an
 agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any part
 of the Property is subject to a lien which can attain priority over this Security Instrument, Lender may give Borrower a
 notice identifying the lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or
 take one or more of the actions set forth above in this Section 4.
       Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
 used by Lender in connection with this Loan.
       5.    Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
 Property insured against loss by fire, hazards included within the term "extended coverage," and any other hazards
 including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
 maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
 requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier providing
 the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right
 shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a
 one-time charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood
 zone determination and certification services and subsequent charges each time remappings or similar changes occur
 which reasonably might affect such determination or certification. Borrower shall also be responsible for the payment
 of any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
 determination resulting from an objection by Borrower.
       If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
 Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of

 MISSOURI—Single Family—Fannie Mne/Fretldie Mac UNIFORM INSTRUMENT                                            Form 3026 1/01
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  coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in
  the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser
  coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained
  might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender
  under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts
  shall bear interest at the Note rate' from the date of disbursement and shall be payable, with such interest, upon notice
  from Lender to Borrower requesting payment.
        AH insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
  disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
  additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
  Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
  form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
  policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.
        In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
  proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
  insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration or
  repair of the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
  During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender has
  had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided
  that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a
. single payment or in a series of progress payments as the work is completed. Unless an agreement is made in writing
  or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay
  Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
  Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the
  restoration or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds shall
  be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
  Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
        If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
  related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
  offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice
  is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to
  Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note
  or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of unearned
  premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights are applicable
  to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or to
  pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
        6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within
  60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
  residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall
  not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
        7.    Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
  damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
  Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
  deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
  restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
  deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking of,
  the Property, Borrower shajl be responsible for repairing or restoring the Property only if Lender has released proceeds
  for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
  progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient to repair or
  restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.



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                                                                                                                         GrealDocs7*
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       Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
 Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of
 or prior to such an interior inspection specifying such reasonable cause.
       8.    Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
 Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
 materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
 material information) in connection with the Loan, Material representations include, but are not limited to,
 representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
       9.    Protection of Lender's Interest in the Property and Rights Under this Security Instrument If
 (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
 proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security Instrument
 (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
 attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
 Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
 Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property, and
 securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
 attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
 position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
 make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
 other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
 under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
 Lender incurs no liability for not taking any or all actions authorized under this Section 9.
       Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.
       If this Security Instrument is on a leasehold. Borrower shall comply with all the provisions of the lease. If
 Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing.
       10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower
shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage
Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously provided such
insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage
Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately designated
payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until termination is required by Applicable Law. Nothing in this Section 10
affects Borrower's obligation to pay interest at the rate provided in the Note.
       Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

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      Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties), to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).
      As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might
be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying
the mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of
the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
reinsurance." Further:
      (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.
      (b) Any such agreements will not affect the rights Borrower has—if any—with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the
Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance
premiums that were unearned at the time of such cancellation or termination.
      11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender.
      If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property,
if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement
or in a series of progress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.
      In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
      In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of
the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
      In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due.
      If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) .offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or



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not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against
whom Borrower has a right of action in regard to Miscellaneous Proceeds.
      Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's
judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or
rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as
provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment,
precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
this Security Instrument. The proceeds of any award or claim for damages that are attributable to the impairment of
Lender's interest in the Property are hereby assigned and shall be paid to Lender.                    '
      All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2.
      12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of
Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security Instrument
by reason of any demand made by the original Bon ower or any Successors in Interest of Borrower. Any forbearance
by Lender in exercising any right or remedy including, without limitation. Lender's acceptance of payments from
third persons, entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a
waiver of or preclude the exercise of any right or remedy.
      13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security
Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer's consent.
      Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights
and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability
under this Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this
Security Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
      14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any other fees, the
absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as
a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.
      If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of
any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
have arising out of such overcharge.
      15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in
writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to
Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires

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 otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute notice
 address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender
specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
 through that specified procedure. There may be only one designated notice address under this Security Instrument at
any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's
address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
 with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. If
any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
 requirement will satisfy the corresponding requirement under this Security Instrument.
      16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this
Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might
explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.
      As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice
versa; and (c) the word "may" gives sole discretion without any obligation to take any action.
      17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
      18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in
the Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of
which is the transfer of title by Borrower at a future date to a purchaser.
      If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this option
shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
      If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
period of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower
must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of
this period. Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
on Borrower.
      19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five
days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other
period as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment
enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be
due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other
covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not
limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the purpose
of protecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such action as
Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer, Upon reinstatement by Borrower, this Security Instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
apply in the case of acceleration under Section 18.



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       20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note
(together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
 result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note and
 this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
 Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale of
 the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will
 state the name and address of the new Loan Servicer, the address to which payments should be made and any other
 information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
 Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to
 Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by
the Note purchaser unless otherwise provided by the Note purchaser.
       Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual
litigant or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that
alleges that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument,
 until such Borrower or Lender has notified the other party (with such notice given in compliance with the
requirements of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the
giving of such notice to take corrective action. If Applicable Law provides a time period which must elapse before
certain action can be taken, that time period will be deemed to be reasonable for purposes of this paragraph; The
notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration
given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.
       21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental protection;
(c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup.
       Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else
to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the presence,
use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized to be
appropriate to normal residential uses and to maintenance of the Property (including, but not limited to, hazardous
substances in consumer products).
       Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous
Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition,
including but not limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance,
and (c) any condition caused by the presence, use or release of a Hazardous Substance which adversely affects the
value of the Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private
party, that any removal or other remediation of any Hazardous Substance affecting the Property is necessary,
Bonrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup.

    NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
    22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration
under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the

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 action required to cure the default; (c) a date, not less than 30 days from the date the notice is given to
 Borrower, by which the default must be cured; and (d) that failure to cure the default on or before the date
 specified in the notice may result in acceleration of the sums secured by this Security Instrument and sale of the
 Property. The notice shall further inform Borrower of the right to reinstate after acceleration and the right to
 bring a court action to assert the non-existence of a default or any other defense of Borrower to acceleration
 and sale. If the default is not cured on or before the date specifled in the notice, Lender at its option may                        .
 require immediate payment in full of all sums secured by this Security Instrument without further demand and
 may invoke the power of sale and any other remedies permitted by Applicable Law. Lender shall be entitled to
 collect all expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
 reasonable attorneys' fees and costs of title evidence.
       If Lender invokes the power of sale, Lender or Trustee shall mail copies of a notice of sale in the manner
 prescribed by Applicable Law to Borrower and to the other persons prescribed by Applicable Law. Trustee
 shall give notice of sale by public advertisement for the time and in the manner prescribed by Applicable Law.
 Trustee, without demand on Borrower, shall sell the Property at public auction to the highest bidder for cash at
 the time and place and under the terms designated in the notice of sale in one or more parcels and in any order
 Trustee determines. Trustee may postpone sale of all or any parcel of the Property to any later time on the
 same date by public announcement at the time and place of any previously scheduled sale. Lender or its
 designee may purchase the Property at any sale.
       Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or
 warranty expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth of
 the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to ail
 expenses of the sale, including, but not limited to, reasonable Trustee's and attorneys' fees; (b) to all sums
 secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.
       23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this Security
 Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
 Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is permitted
 under Applicable Law.                            ,              .
       24. Substitute Trustee. Lender, at its option, may from time to time remove Trustee and appoint a successor
 trustee to any Trustee appointed hereunder by an instrument recorded in the county in which this Security Instrument
 is recorded. Without conveyance of the Property, the successor trustee shall succeed to all the title, power and duties
 conferred upon Trustee herein and by Applicable Law.
       25. Lease of the Property. Trustee hereby leases the Property to Borrower until this Security Instrument is
 either satisfied and released or until there is a default under the provisions of this Security Instrument. The Property is
 leased upon the following terms and conditions: Borrower, and every person claiming an interest in or possessing the
 Property or any part thereof, shall pay rent during the term of the lease in the amount of one cent per month, payable
 on demand, and without notice or demand shall and will surrender peaceable possession of the Property to Trustee
 upon default or to the purchaser of the Property at the foreclosure sale.
       26. Homestead Exemption. Borrower hereby waives all homestead exemptions in the Property to which
 Borrowers would otherwise be entitled under Applicable Law.
       27. Notice. Oral agreements or commitments to loan money, extend credit or to forebear from enforcing
 repayment of debt including promises to extend or renew such debt are not enforceable. To protect you
 (Borrowers)) and us (Creditor) from misunderstanding or disappointment, any agreements we reach covering
 such matters are contained in this writing, which is the complete and exclusive statement of the agreement
 between us, except as we may later agree in writing to modify it.




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      BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in pages 1 through
 14 of this Security Instrument and in any Rider executed by Borrower and recorded with it.


                                               (Seal)                                                       (Seal)
 CHRIS GATLEY                                -Borrower                                                  -Borrower




                                               (Seal)                                                       (Seal)
                                             -Borrower                                                   -Borrower




                                               (Seal)                                                       (Seal)
                                             -Borrower                                                  -Borrower




 Witness:                                                 Witness:




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 State of Missouri
 County (and/or city) of

    On this    22nd      day of December 2006                                           , before me personally appeared
 CHRIS GATLEY, A Single Person


 to me known to be the person (or persons) described in and who executed the foregoing instrument, and acknowledged
 that he/she/they executed the same as his/her/their free act and deed.


 In Testimony whereof, I have here unto set my                                  SLai.
                                                                                                                    Notary Public
 hand and affixed my official seal in the county

 and state aforesaid, the day and year first                 My Term Expires:
 above written.


                                      ERIN BRENNEKE
                                  Notary Public - Notary Seal
                                    STATE OF MISSOURI                                           vr,/ ^        i .
                                                                                                              \-r    ,     V <•''
                                Greene County - Comm.#05812585                                                      ^        r< : i
                               My Commission Expires Dec. 20,2009
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                                        1-4 FAMILY RIDER
                                                 (Assignment of Rents)



         THIS 1-4 FAMILY RIDER is made this         22nd     day of December 2006                         ,
    and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
    Security Deed (the "Security Instrument") of the same date given by the undersigned (the "Borrower") to
    secure Borrower's Note to Empire Bank, Banking Institution                                      .


   (the "Lender") of the same date and covering the Property described in the Security Instrument and located at:
                                                 2252 N LYON AVE
                                              SPRINGFIELD, MO 65803

                                                     [Property Address]


          1-4 FAMILY COVENANTS. In addition to the covenants and agreements made in the Security
    Instrument, Borrower and Lender further covenant and agree as follows:
                A. ADDITIONAL PROPERTY SUBJECT TO THE SECURITY INSTRUMENT. In
          addition to the Property described in Security Instrument, the following items now or hereafter
          attached to the Property to the extent they are fixtures are added to the Property description, and
          shall also constitute the Property covered by the Security Instrument: building materials,
          appliances and goods of every nature whatsoever now or hereafter located in, on, or used, or
          intended to be used in connection with the Property, including, but not limited to, those for the
          purposes of supplying or distributing heating, cooling, electricity, gas, water, air and light, fire
          prevention and extinguishing apparatus, security and access control apparatus, plumbing, bath
          tubs, water heaters, water closets, sinks, ranges, stoves, refrigerators, dishwashers, disposals,
          washers, dryers, awnings, storm windows, storm doors, screens, blinds, shades, curtains and
          curtain rods, attached mirrors, cabinets, paneling and attached floor coverings, all of which,
          including replacements and additions thereto, shall be deemed to be and remain a part of the
          Property covered by the Security Instrument. All of the foregoing together with the Property
          described in the Security Instrument (or the leasehold estate if the Security Instrument is on a
          leasehold) are referred to in this 1-4 Family Rider and the Security Instrument as the "Property."
                B. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not seek, agree
          to or make a change in the use of the Property or its zoning classification, unless Lender has
          agreed in writing to the change. Borrower shall comply with all laws, ordinances, regulations and
          requirements of any governmental body applicable to the Property.
                C. SUBORDINATE LIENS. Except as permitted by federal law, Borrovyer shall not allow
          any lien inferior to the Security Instrument to be perfected against the Property without Lender's
           prior written permission.
                 D. RENT LOSS INSURANCE. Borrower shall maintain insurance against rent loss in
           addition to the other hazards for which insurance is required by Section 5.
                 E. "BORROWER'S RIGHT TO REINSTATE" DELETED. Section 19 is deleted.
                 F. BORROWER'S OCCUPANCY. Unless Lender and Borrower otherwise agree in
           writing, Section 6 concerning Borrower's occupancy of the Property is deleted.
                 G. ASSIGNMENT OF LEASES. Upon Lender's request after default. Borrower shall
           assign to Lender all leases of the Property and all security deposits made in connection with leases

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           of the Property. Upon the assignment, Lender shall have the right to modify, extend or terminate
           the existing leases and to execute new leases, in Lender's sole discretion. As used in this
           paragraph G, the word "lease" shall mean "sublease" if the Security Instrument is on a leasehold.
                 H. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER; LENDER IN
           POSSESSION. Borrower absolutely and unconditionally assigns and transfers to Lender all the
           rents and revenues ("Rents") of the Property, regardless of to whom the Rents of the Property are
           payable. Borrower authorizes Lender or Lender's agents to collect the Rents, and agrees that each
           tenant of the Property shall pay the Rents to Lender or Lender's agents. However, Borrower shall
           receive the Rents until (i) Lender has given Borrower notice of default pursuant to Section 22 of
           the Security Instrument and (ii) Lender has given notice to the tenant(s) that the Rents are to be
           paid to Lender or Lender's agent. This assignment of Rents constitutes an absolute assignment and
           not an assignment for additional security only.
                 If Lender gives notice of default to Borrower: (i) all Rents received by Borrower shall be
           held by Borrower as trustee for the benefit of Lender only, to be applied to the sums secured by
           the Security Instrument; (ii) Lender shall be entitled to collect and receive all of the Rents of the
           Property; (iii) Borrower agrees that each tenant of the Property shall pay all Rents due and unpaid
           to Lender or Lender's agents upon Lender's written demand to the tenant; (iv) unless applicable
           law provides otherwise, all Rents collected by Lender or Lender's agents shall be applied first to
           the costs of taking control of and managing the Property and collecting the Rents, including, but
           not limited to, attorney's fees, receiver's fees, premiums on receiver's bonds, repair and
           maintenance costs, insurance premiums, taxes, assessments atid other charges on the Property, and
           then to the sums secured by the Security Instrument; (v) Lender, Lender's agents or any judicially
           appointed receiver shall be liable to account for only those Rents actually received; and
           (vi) Lender shall be entitled to have a receiver appointed to take possession of and manage the
           Property and collect the Rents and profits derived from the Property without any showing as to the
           inadequacy of the Property as security.
                 If the Rents of the Property are not sufficient to cover the costs of taking control of and
           managing the Property and of collecting the Rents any funds expended by Lender for such
           purposes shall become indebtedness of Borrower to Lender secured by the Security Instrument
           pursuant to Section 9.
                 Borrower represents and warrants that Borrower has not executed any prior assignment of
           the Rents and has not performed, and will not perform, any act that would prevent Lender from
           exercising its rights under this paragraph.
                 Lender, or Lender's agents or a judicially appointed receiver, shall not be required to enter
           upon, take control of or maintain the Property before or after giving notice of default to Borrower.
           However, Lender, or Lender's agents or a judicially appointed receiver, may do so at any time
           when a default occurs. Any application of Rents shall not cure or waive any default or invalidate
           any other right or remedy of Lender. This assignment of Rents of the Property shall terminate
           when all the sums secured by the Security Instrument are paid in full.
                 I. CROSS-DEFAULT PROVISION. Borrower's default or breach under any note or
           agreement in which Lender has an interest shall be a breach under the Security Instrument and
           Lender may invoke any of the remedies permitted by the Security Instrument.




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          BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in pages
    1 through 3 of this 1-4 Family Rider.


                                             (Seal)                                             (Seal)
    CHRIS GATLEY                           -Borrower                                         -Borrower




                                             (Seal)                                             (Seal)
                                           -Borrower                                         -Borrower




                                             (Seal)                                             (Seal)
                                           -Borrower                                         -Borrower




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